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                              EXHIBIT 7
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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                       Case No.
      Plaintiffs,
                                                     0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


                        PLAINTIFFS’ OPPOSITION TO
                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




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        “Having advanced an argument that calls for red meat and strong drink,
             appellant offers us stale bread and tepid water to nourish it.”
                             --Northern Heel Corp. v. Compo Indus., 851 F.2d 456 (1st Cir. 1988)
                                               Introduction
           Plaintiffs are not naïve – they understand that the Court has, at times, expressed a certain
   level of healthy skepticism that Plaintiffs’ claims could survive Defendants’ Fair Report
   Privilege defense. With discovery now closed, however, Plaintiffs believe that the evidence will
   sweep away that skepticism. And, although Defendants throw in two additional arguments in
   support of their Motion for Summary Judgment – an argument that they made no defamatory
   accusations concerning Plaintiffs and an argument that Plaintiffs cannot prove the requisite level
   of fault – neither of those arguments fare any better. As such, Defendants’ Motion should be
   denied in its entirety.
           Rather than burden the Court with two recitations of the facts – one in this opposition and
   another in Plaintiffs’ Opposition to Defendants’ Statement of Undisputed Material Facts filed
   herewith [“POSMF”], Plaintiffs incorporate by reference the POSMF. Specific factual issues
   related to Plaintiffs’ arguments are discussed, below, as needed.
                                                 Argument
   I.      With Discovery Now Complete, it is Evident that Defendants Cannot Meet Their
           Burden of Proof to Invoke the Fair Report Privilege.
           Under New York law (which this Court has held applicable in this action with respect to
   privilege), the fair report privilege is codified in New York Civil Rights Law Section 74:
           A civil action cannot be maintained against any person, firm or corporation, for the
           publication of a fair and true report of any judicial proceeding, legislative
           proceeding or other official proceeding, or for any heading of the report which is a
           fair and true headnote of the statement published.
                    This section does not apply to a libel contained in any other matter added
           by any person concerned in the publication; or in the report of anything said or done
           at the time and place of such a proceeding which was not a part thereof.
   NYCRL §74. Under this statute, Defendants bear the burden of proving: (1) that the report
   containing the defamatory statements was a fair and true account of (2) an official proceeding,
   and (3) that an ordinary reader would understand the defamatory statements to have been part of
   the official proceedings. And, although Plaintiffs are well aware that this Court provisionally
   found that Defendants would likely be able to meet these three hurdles, at the conclusion of
   discovery, it is clear that they cannot.

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          A.      Defendants Cannot Demonstrate that their Report was Fair or True and Indeed,
                  there is Every Indication that it was Neither.
          Under Section 74, a report of an official action is only entitled to protection if it is a “fair
   and true” report of the proceeding. NYCRL §74. And, although the report does not require a
   “lexicographer’s precision,” it is well established that a report “cannot be said to be
   “substantially accurate,” ... if it would have a “different effect” on the mind of the recipient than
   the “actual truth.” In other words, Section 74 does not afford protection if the specific statements
   at issue, considered in their context, suggest[] more serious conduct than that actually suggested
   in the official proceeding.” Karedes v. Ackerley Grp., Inc., 423 F.3d 107, 119 (2d Cir. 2005)
   (some internal quotation marks omitted). See, also, D’Annunzio v. Ayken, Inc., 876 F. Supp. 2d
   211, 218 (E.D.N.Y. 2012) (“[T]he privilege does not extend to statements in a report that imply
   misconduct beyond that alleged in the judicial proceeding on which the report is based. ‘If the
   published account, along with the rest of the article, suggests more serious conduct than that
   actually suggested in the official proceeding, then the privilege does not attach, as a matter of
   law.’” (quoting Daniel Goldreyer, Ltd. v. Van de Wetering, 630 N.Y.S.2d 18 (1st Dep’t 1995)));
   Martin v. Daily News L.P., 2014 NY Slip Op 5369, ¶ 8, 121 A.D.3d 90, 101, 990 N.Y.S.2d 473,
   482 (App. Div.) (privilege does not apply when, “as a result of this missing information and
   Louis's careless reporting, the columns created a false impression”); Calvin Klein Trademark Tr.
   v. Wachner, 129 F. Supp. 2d 248, 253 (S.D.N.Y. 2001) (“A report cannot be said to be
   ‘substantially accurate,’ however, if it would have a ‘different effect’ on the mind of the recipient
   than the ‘actual truth.’ In other words, Section 74 does not afford protection if the specific
   statements at issue, considered in their context, ‘suggest[] more serious conduct than that
   actually suggested in the official proceeding.’”). Here, Defendants have not and cannot meet
   their burden of proof that their report was “fair and true” because (even now) they do not and
   cannot actually know the scope and extent of the so-called “official proceeding.”
          Preliminarily, although it is understandable why Defendants continue to pretend that the
   “Dossier” is a single document, it simply is not. The so-called “Dossier” is actually 17 separate
   memos produced on different dates; provided to different individuals; and transmitted at different
   times. Indeed, Defendants’ own undisputed facts acknowledge as much. See Defendants’
   Statement of Undisputed Material Facts [“DSMF”], ¶¶ 7, 18, 25, 28, 31, 33. For example,




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                                                                                           DSMF, ¶
   25. Similarly, it is undisputed that


                                                            . 1 DSMF, ¶¶ 28.




                                       DSMF, ¶¶ 34-36.
           Indeed, in addition to the version of the memos provided to the FBI by McCain, Fusion
   provided a copy of the pre-election memos to DOJ official Bruce Ohr in November 2016.
   POSMF, ¶ 14. At some point, Fusion may have provided Mr. Ohr with a copy of the December
   Memo, though it could not recall one way or another. Id. The FBI also received a version of the
   pre-election memos from Mother Jones reporter David Corn. POSMF, ¶ 13.
           This is not to say that the December Memo did not ultimately find its way into the hands
   of the FBI. The FBI’s affidavit makes it clear that it did. See Exhibit 8 to Bulger Decl. The
   FBI’s affidavit also acknowledges (as Defendants requested) that, prior to January 10, 2017,
   President Obama was briefed “about allegations contained in the Dossier.” Id. It is not enough.
   In order to support Defendants’ contention that their “report” was “true and fair,” at least three
   other facts needed to be established: (1) that the briefing to President Obama took place on a date
   after the government received the December Memo; (2) that information from the December
   Memo was actually part of the briefing to the President; and (3) that the content of the briefing
   suggested in some way that the intelligence community was taking the contents of the Dossier
   itself (and not just its existence) seriously.
           For example, the FBI’s affidavit says only that someone at the FBI had possession of
   December Memo prior to January 10, 2017. Other than that, it provides no specific date on
   which the memo was received. Similarly, although the FBI’s affidavit confirms that President
   Obama was briefed on (certain unspecified) allegations contained in an (unspecified) version of
   the “Dossier,” prior to January 10, 2017, no more specific dates are provided.
           If, for instance, the briefing to President Obama took place prior to December 13, 2016
   (which is not ruled out by the facts confirmed by the FBI), then the briefing could not have


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                                                                                     POSMF, ¶ 34.
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   included the only memo relevant to this case. In such an instance, Buzzfeed’s publication of the
   December Memo – along with the “reporting” that the President had been briefed on the contents
   of the “Dossier” – would have led a reader to incorrectly conclude that the President had been
   briefed on the memorandum including the defamatory statements, even though he had not.
          Similarly, although someone at the FBI may have physically received the December
   Memo prior to the briefing of the President (and, as noted, the FBI affidavit does not permit a
   that to be determined conclusively), if the December Memo had not worked its way to the higher
   levels of the FBI, its contents may not have been part of the briefing with Presidents Obama or
   Trump. Again, if the December Memo was not yet part of what was being summarized,
   reporting that it was would not be “fair or true.” Finally, both James Comey and James Clapper
   have frequently stated that, because the contents of the Dossier had not been verified or its
   sourcing vetted, it was not considered part of the Intelligence Briefing to the Presidents, nor was
   it presented as such. Instead – again, according to both Mr. Comey and Mr. Clapper – the two-
   page summary presented to the Presidents focused exclusively on the Dossier’s most salacious
   aspects (e.g., alleged prostitution) and the President-elect was informed of the allegations not
   because the intelligence community was giving them credence substantively, but rather because
   they knew that the allegations were about to become public and they did not want to him to
   believe they had withheld the existence of the allegations from him. POSMF, ¶ 42.
          There is, of course, no way to actually know for sure what Messrs. Comey or Clapper
   said to the President, but, if it is in line with what each have said publicly, then the Buzzfeed’s
   “reporting” (really, Buzzfeed’s pointing to CNN’s reporting) would leave the average reader
   with the mistaken belief that the allegations in the Dossier were being taken more seriously by
   the intelligence community than they were at the time.
          Indeed, there is an area in which CNN’s reporting about the “official proceeding” was
   demonstrably wrong, namely CNN’s claim that McCain provided the FBI with a full copy of the
   Dossier. The version of the “Dossier” that McCain gave to the FBI was not and could not have
   contained the December Memo since (as the FBI affidavit affirms), McCain only provided the
   FBI with the first 33 pages of the “Dossier” and he did so prior to the December Memo being
   written. Nevertheless, Buzzfeed knowingly included this palpably false claim in its own report,
   setting off the words “full copy” in quotes precisely because they knew the claim to be wrong.
   POSMF, ¶ 61. As such – because the CNN report falsely claims that McCain provided the full

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   “Dossier” to the FBI (including the December Memo) – the CNN report is not a “fair and true”
   report of the so-called “official proceeding” because it would leave the reader with a different
   impression about the allegations concerning Plaintiffs than would a true and fair report. See Ex.
   1 to Ex. 2 of Bulger Decl. (“CNN has reviewed a 35-page compilation of the memos.... CNN has
   also learned that on December 9, Senator John McCain gave a full copy of the memos – dated
   from June through December, 2016 – to FBI Director James Comey.”). All of this points up the
   inherent flaw in allowing Buzzfeed to take advantage of the fair report privilege simply by virtue
   of including a hyperlink to the CNN story. There is no way to know if the copy of the memos
   published by Buzzfeed is the copy “reviewed” by CNN, or if either of those were the version
   briefed to the President (given that the government itself had multiple versions).
          In a related vein, Buzzfeed’s own reporting also leaves the reader with a different
   impression about the allegations concerning Plaintiffs than would a true and fair report.
   Buzzfeed claims in its article that “Harry Reid spokesman Adam Jentleson tweeted Tuesday that
   the former Senate Democratic leader had seen the documents before writing a public letter to
   FBI Director James Comey about Trump's ties to Russia.” Opp. Ex. 75. The letter from Senator
   Reid to which Buzzfeed refers is dated October 30, 2016. Ex. 39. When Buzzfeed refers to “the
   documents,” then (and it has clearly chosen its wording here carefully, though a reader would not
   know that), it cannot be referring to what it has actually published alongside those words,
   namely the full set of memos including the December Memo. This is true because the December
   Memo had not yet been written when Senator Reid wrote his letter. Contrary to Buzzfeed’s
   implicit assertion, then, Senator Reid had not seen the version of the documents containing the
   December Memo at the time he wrote his letter to Comey. Thus, a reader would be left with the
   incorrect impression that Senator Reid had read the allegations pertaining to Plaintiffs and that
   such allegations were part of Senator Reed’s concerns when he wrote to Comey.
          Because Buzzfeed’s article then, could be seen as erroneous both in that it suggested that
   the President was briefed on the allegations contained in the December Memo (and, more
   specifically, the allegations concerning Plaintiffs) even though there is no evidence to support
   such an assertion, and because the article specifically claims that Senator Reid had seen “the
   documents” prior to writing to Comey, Buzzfeed’s “report” cannot be found to be a fair and true
   report as a matter of law. Accordingly, Buzzfeed is not entitled to the protections of Section 74.
   Or, at a minimum, the question presents a question of fact best left for a jury to decide. See, e.g.,

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   Wenz v. Becker, 948 F.Supp. 319 (S.D.N.Y. 1996) (denying summary judgment where existed
   genuine issues of material fact as to whether the publication was a report on a judicial proceeding
   and, if it was, if it was fair and true); Pisani v. Staten Island Univ. Hospital, 440 F. Supp. 2d 168,
   178 (E.D.N.Y. 2006) (“[B]ecause the Court finds that a reasonable jury could decide that the
   Hospital statement was not a fair and true report, the Court cannot conclude that, as a matter of
   law, the Hospital statement is protected by the judicial proceeding privilege.”).
          B.      Defendants Have Failed to Establish that there was any Official Action
                  Concerning the December Memo or the Allegations Concerning Plaintiffs and, as
                  Such, Cannot Prove that Element of their Defense.
          Understanding, perhaps, that they would be unable to demonstrate what the law requires
   – that official action was taken concerning (at a minimum) the relevant document or (more
   likely) the defamatory statements themselves, Defendants instead point to evidence of two
   separate – and inadequate – facts that they do believe they have established: (1) there was
   “official action” concerning some of the memos in the “Dossier;” and (2) the government was in
   possession of the December Memo at the relevant point in time. Once again, it is not enough.
          Plaintiffs have not brought suit alleging that they were defamed by the publication of 17
   different memoranda written on different dates; they are alleging that they were defamed by the
   publication of a single document – the December Memo. And, as this Court acknowledged in its
   preliminary order, for the privilege to apply the average reader must be able to “ascertain that
   what is reported as true is that there is an official proceeding underway or official action being
   taken regarding the allegedly defamatory matter....” D.E. 171, p. 13 (emphasis added).
          This is, of course, consistent with both the plain language of Section 74 (which
   specifically excludes from protection “anything said or done” that was not part of the official
   proceeding), and the cases interpreting Section 74, which often look at each individual statement
   alleged to be defamatory and then ask the question of whether that particular defamatory
   statement was part of the judicial, legislative, or other official proceeding. See, e.g., Greenberg
   v. Spitzer, 2017 NY Slip Op 06432, ¶ 4, 62 N.Y.S.3d 372, 384 (App. Div.) (first holding that “it
   is incumbent on the party asserting the privilege ‘to establish that the statements at issue reported
   on a judicial proceeding’” and then proceeding to determine, one by one, whether each alleged
   defamatory statement was part of a judicial proceeding); Friedman v. Bloomberg L.P., 884 F.3d
   83, 95 (2d Cir. 2017) (finding that while one alleged defamatory statement was entitled to
   protection under Section 74 as a fair report of a judicial proceeding, because a second alleged

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   defamatory comment “was in no way informing the public of what was ‘go[ing] on in the courts’
   ... The § 74 privilege does not apply”); Kenny v. Cleary, 47 A.D.2d 531, 532, 363 N.Y.S.2d 606,
   609 (App. Div. 1975) (examining each defamatory statement and concluding that certain
   statements that were “made before the commencement of [the] judicial proceeding ... do not
   qualify for absolute privilege”); Freeze Right Refrigeration & Air Conditioning Servs., Inc. v.
   New York, 475 N.Y.S.2d 383, 389 (App. Div. 1984) (although reporting on statements contained
   in a complaint were protected by Section 74, reporting on the defendant’s denials of the
   allegations made is not “since it is the product of Blumenthal’s own research after learning of the
   Department’s findings. Any discussion between Blumenthal and Malina is a matter dehors the
   scope of the official investigation. In relevant part, section 74 also provides: [‘]This section does
   not apply to a libel contained in any other matter added by any person concerned in the
   publication; or in the report of anything said or done at the time and place of such a proceeding
   which was not a part thereof.[’] Thus, in order for the entire article to be beyond the reach of this
   complaint, recourse must be had to some doctrine in the law of defamation other than the
   absolute statutory privilege accorded to a report of an official proceeding.”).
          The proper question, then, is whether an average reader would have understood from
   Buzzfeed’s article that there was some official action relating to the defamatory statements made
   about Plaintiffs themselves. Putting aside the fact that there is no way that an average reader
   could have reached that conclusion from either Buzzfeed’s article or CNN’s article, 2 there is also


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     This Court seemed to suggest in its earlier order that the Buzzfeed article did report on official
   proceedings concerning Plaintiffs because the Court believed the Buzzfeed article reported on
   official proceedings concerning Michael Cohen (and, by extension Plaintiffs, since the December
   Memo alleged that Mr. Cohen traveled to Prague and participated in a meeting concerning the
   plan to hack the Democratic National Committee). D.E. 169, p. 18 (“The Dossier alleges that
   Plaintiffs were part of a cyber-operations scheme coordinated, at least in part, by Michael Cohen
   and the FSB. The Article includes a statement from Michael Cohen denying all of the
   allegations in the Dossier.”). In this respect, though, the Court appears to have misapprehended
   Buzzfeed’s reporting. In stating that Mr. Cohen denied the allegations contained in the Dossier,
   Buzzfeed was not reporting that Mr. Cohen denied the allegations as part of a government
   investigation, but rather that he had told a different online publication, Mic, that the allegations
   were untrue. See Buzzfeed’s Article, Opp. Ex. 75 (“The Trump administration’s transition team
   did not immediately respond to BuzzFeed News’ request for comment. However, the president-
   elect’s attorney, Michael Cohen, told Mic that the allegations were absolutely false.”); Mic
   article, Opp. Ex. 82. Mic’s reporting on Mr. Cohen’s denials of allegations is unquestionably
   outside of the scope of Section 74. See, generally, Fine v. ESPN, Inc., 11 F. Supp. 3d 209
   (N.D.N.Y. 2014) (parsing each individual alleged defamatory statement and finding that those
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    no support in the FBI’s affidavit (or elsewhere) for the proposition that the allegations
    concerning Plaintiffs actually were subject to any such investigation.3 And, indeed, there is
    absolutely no reason to believe that the allegations concerning Plaintiffs were subject to any
    official investigation: none of the Plaintiffs have ever been contacted by Special Counsel Robert
    Mueller, the F.B.I., the C.I.A., or any other government entity investigating the hacking of the
    DNC.4 POSMF, ¶ 11. To the contrary, as a result of his extensive investigation, Special
    Counsel Mueller indicted twelve Russian intelligence officers. POSMF, ¶ 11.
           Similarly, the FBI’s confirmation that it had the December Memo in its possession is not
    enough to demonstrate that it was the subject of any official action. As the Courts have made
    clear, mere possession of a document by the relevant government actors does not automatically
    mean that reporting on such a document is protected by Section 74. See, e.g., Abakporo v.
    Sahara Reporters, 2011 U.S. Dist. LEXIS 109056 at *28-29 (E.D.N.Y. Sept. 26, 2011) (“Even
    assuming that the Petition reached the relevant Nigerian authorities, however, this fact would not
    transform the Petition into part of an ‘official proceeding’ under Section 74.... Construing the
    statutory privilege in the suggested manner would create a recipe for libel, as specious
    allegations could be broadcast with impunity once sent, even anonymously, to a government
    agency. Both Courts of Appeals in this state have long cautioned against expanding immunity
    from defamation liability in this way.”); Stepanov v. Down Jones & Co., Inc., 2013 NY Slip Op
    33584(U), ¶¶ 6-7 (Sup.Ct. April 18, 2013) (§74 inapplicable because, inter alia, “Defendant's



    statements derived from interviews with ESPN not covered by the privilege even where they
    mirrored statements made as part of an official investigation).
    3
      And, although Defendants have not proffered any evidence that the allegations concerning
    Plaintiffs were the subject of an official proceeding, it should also be noted that there is no public
    policy reason to afford the protections of the Fair Report Privilege to a lucky guess. In other
    words, the privilege should not allow a defendant to make a wild guess about the existence of
    some “official action” (without any actual knowledge), yet escape liability if, after the fact, they
    are able to show that – by sheer luck – their original allegations were true. See, e.g., Buffalino v.
    Associated Press, 692 F.2d 266, 271 (2d Cir. 1982) (“The rule applied by the District Court does
    not serve that policy because it does nothing to encourage the initial reporting of public records
    and proceedings. Certainly §611 should not be interpreted to protect unattributed, defamatory
    statements supported after-the-fact through a frantic search of official records.”)
    4
      As this Court knows, Plaintiffs were contacted by both the House and Senate Committees
    investigating Russian attempts to influence the 2016 Presidential elections, but only in an attempt
    to secure copies of the deposition transcripts of Mr. Steele and                not because they
    wished to question the Plaintiffs about their alleged involvement in any wrongdoing.
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    argument that the article is comparable to reports based solely on pleadings filed in a U.S. court
    is unavailing. Filing a summons and complaint commences an action in court ... while a
    complaint submitted to an Attorney General may or may not commence an investigation.”).
    Other courts have reached similar conclusions. See, e.g., Butcher v. Univ. of Mass., 94
    Mass.App.Ct. 33, 40 (2018) (“[T]he fair report privilege ‘does not apply to witness statements to
    police, whether appearing in an official police report or not, where no official police action is
    taken.’... Extending the privilege to a witness’s allegations merely because they appear in a
    police blotter does not further the doctrine’s purpose of allowing the public to learn of official
    actions affecting the public interest.”); Phillips v. Evening Star Newspaper Co., 424 A.2d 78, 89
    (D.C. 1980) (“[T]he Star’s reliance on the ‘hot line’ log as an official document to provide
    occasion for the official report privilege is misplaced and incorrect. This log representing the
    oral police communication from which the Star composed its article does not carry the dignity
    and authoritative weight as a record for which the common law sought to provide a reporting
    privilege. Mere inaccurate business records of some sort ... will not suffice to create an official
    record to which the reporting privilege will attach.”).
           Because Buzzfeed has failed to establish that an official proceeding existed concerning
    either the alleged defamatory allegations or the December Memo, Buzzfeed’s “reporting” is not
    entitled to the protections of Section 74. Or, again, at a minimum, the question presents a
    question of fact best left for a jury to decide. See, e.g., Wenz, 948 F.Supp. 319; Ocean State
    Seafood, Inc. v. Capital Newspaper, Div. of Hearst Corp., 492 N.Y.S.2d 175, 179 (App. Div.
    1985) (“We are similarly of the view that a jury question is also presented with respect to
    defendants’ defense that the article’s account of the imposition of a fine against plaintiffs in
    Justice Court was statutorily privileged as a ‘fair and true report of any judicial proceeding.’”).
           C.      The Average Reader Would Not Conclude That Defendants’ Article Was
                   “Reporting On” Official Action.
           In its preliminary order on Defendants’ fair report privilege defense, this Court held that:
           The [Buzzfeed] Article itself does not permit an ordinary reader to understand that
           the Dossier was the subject of classified briefings or an FBI investigation. Rather,
           it is the hyperlinked CNN article that describes the confidential briefings and asserts
           that the FBI is investigating the truth of the Dossier’s allegations. The question
           then is: would an ordinary reader of the [Buzzfeed] Article conclude that the
           Dossier was subject to these official actions when these official actions are
           mentioned only in the hyperlinked CNN article?


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    D.E. 171, p. 16. The Court then noted that only one other Court had addressed the question
    directly – the Nevada Supreme Court in Adelson v. Harris, 402 P.3d 665 (Nev. 2017). The
    Adelson court, in turn, noted that it was facing “an issue of first impression, whether a hyperlink
    in an Internet publication that provides specific attribution to a document protected by the fair
    report privilege qualifies as a protected report for purposes of that privilege.” Id., at 668. The
    Adelson Court went on to note that, “although courts have not addressed hyperlinks in the
    context of the fair report privilege ... courts have extensively discussed hyperlinks in the context
    of whether they impart notice for the purposes of contract formation.” Id., at 669. That court
    then held the two questions are analogous, “because both standards ask whether an average
    person can identify and understand a hyperlink’s importance.” Id., at 670.
           Under Adelson, the relevant question is whether the hyperlink is sufficiently conspicuous
    that the average reader would have been on notice that the article was referring to and
    incorporating the information located at the hyperlink. Even under this framework, however, the
    Defendants’ argument fails both legally and factually.
           First, it is important to recognize a crucial distinction between the hyperlink at issue in
    Adelson and the hyperlink at issue in the present case that compels a different outcome. In
    Adelson, the defendant published an online petition that stated, among other things, that
    “Adelson ‘personally approved’ of prostitution in his Macau casinos.” Adelson v. Harris, 973 F.
    Supp. 2d 467, 473 (S.D.N.Y. 2013). The phrase “personally approved” was hyperlinked to an
    Associated Press story “discussing ongoing litigation from Nevada.... The AP article provided a
    summary of a sworn declaration Jacobs filed in the litigation alleging that Adelson had approved
    of prostitution in his Macau casino resorts. Specifically, the article quotes a portion of the
    declaration in which Jacobs states that a ‘prostitution strategy had been personally approved by
    Adelson.’” Adelson, 402 P.3d at 666-67.
           The hyperlink in Adelson thereby provided the crucial connection between the
    defamatory statement itself and the official proceeding from whence the defamatory statement
    was drawn. In other words, the hyperlink itself allowed the reader to understand that the
    defamatory statement itself was drawn from an official proceeding. The hyperlink at issue in the
    present case does not serve the same function. Here, the hyperlinked sentence read: “CNN
    reported Tuesday that a two-page synopsis of the report was given to President Obama and
    Trump,” with the words “CNN reported” as the relevant hyperlink. See Opp. Ex. 75. Unlike the

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    hyperlink in Adelson, the hyperlink at issue here did not provide the reader with a connection
    between the defamatory statement about Plaintiffs and the existence of any official action
    concerning them. As such, the very rationale underpinning the Adelson decision is absent here.
           Next, even if the Court were to find that the hyperlink in question here was relevant, the
    hyperlink would still be insufficient inasmuch as it was insufficiently conspicuous as defined in
    the contract line of cases to which Adelson analogizes. Here, the relevant hyperlink in
    Buzzfeed’s article included only the words “CNN reported,” which were colored blue, but not
    otherwise distinguished by the typical signifiers of a hyperlink, such as the text being underlined,
    italicized, bolded, or in all-caps. 5 New York courts (and others) have held that simply setting off
    words on a webpage in blue, without more, is insufficiently conspicuous to put the ordinary user
    on notice that the words contained a hyperlink. See, e.g., Applebaum v. Lyft, Inc. 263 F. Supp.
    3d 454, 467 (S.D.N.Y. 2017). As the Applebaum court specifically held:
           A reasonable consumer would not have understood that the light blue “Terms of
           Service” hyperlinked to a contract for review. Lyft argues that coloring words
           signals “hyperlink” to the reasonable consumer, but the tech company assumes too
           much. Coloring can be for aesthetic purposes. Courts have required more than
           mere coloring to indicate the existence of a hyperlink to a contract.... Beyond the
           coloring, there were no familiar indicia to inform consumers that there was in fact
           a hyperlink that should be clicked and that a contract should be reviewed, such as
           words to that effect, underlining, bolding, capitalization, italicization, or large font.
    Id. (and cases cited therein)
           As the Applebaum court noted, the something “more” required is typically underlining,
    bolding, capitalization, italicization, or a larger font, none of which were present here. Many
    other courts have similarly noted that hyperlinks are typically signified with both a different
    color and underlining. See, e.g, Plazza v. Airbnb, Inc., 289 F.Supp.3d 537, 543 (S.D.N.Y. 2018)
    (“The phrase ‘Terms of Service’ was in blue text and underlined, indicating a hyperlink”); Meyer
    v. Kalanick, 200 F.Supp.3d 408, 415 (S.D.N.Y. 2016) (“[T]he fact that the phrase ‘Terms of
    Service & Privacy Policy’ is underlined and in blue suggests that the phrase is a hyperlink”);
    Adelson v. Harris, 774 F.3d 803, 808 (2d Cir. 2014) (“[T]he hyperlinks were not hidden but
    visible in the customary manner, that is, by being embedded in blue, underlined text”); Cullinane
    v. Uber Techs., Inc., 893 F.3d 53, 63 (1st Cir. 2018) (“First, Uber’s ‘Terms of Service & Privacy


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      Oddly, Buzzfeed has now altered the way the article appears online so that the words “CNN
    reported” are bolded and underlined, but no longer blue.
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    Policy’ hyperlink did not have the common appearance of a hyperlink. While not all hyperlinks
    need to have the same characteristics, they are ‘commonly blue and underlined.’”); Berkson v.
    Gogo LLC, 97 F.Supp.3d 359, 372 n.2 (E.D.N.Y. 2015) (“Words on a website that are underlined
    and highlighted in blue and that you can click on in order to open a new web page are an
    example of a hyperlink.”); Pincaro v. Glassdoor, Inc., 2017 U.S. Dist. LEXIS 147517, at *15-16
    (S.D.N.Y. Sep. 12, 2017) (“[A] reasonably prudent user knows that text that is highlighted
    in blue and underlined is a hyperlink to another webpage where additional information will be
    found.” (citing Meyer v. Uber Technologies, Inc., 868 F.3d 66, 77-78 (2d Cir. 2017))).
           Although the difference between a link that is colored blue and underlined and one that is
    simply colored blue may initially appear to the Court to be a slight one, the Berkson Court
    (which undertook what is perhaps the most comprehensive legal examination of ways in which
    websites put users on notice of contractual terms) cautions courts against assuming that the
    average internet users has the same level of internet sophistication as the court itself:
           What of those less devoted to computers? Should a survey be taken on how they
           view some of these directions? Judges and law clerks tend to be sophisticated about
           navigating the internet and website. Are they attributing their superior knowledge
           to that of “read-less and run” types? A “hyperlink,” which is activated by clicking
           on an underlined word or term, with its serious legal ramifications, may not be fully
           understood by many consumers.
    Berkson, 97 F.Supp.3d at 400.
           Factually, this Court provisionally accepted Buzzfeed’s argument that the (non-
    underlined) blue text that read “CNN Reported” was sufficiently conspicuous that the average
    reader would understand that Buzzfeed’s article was “reporting on” an official proceeding,
    presumably under the assumption that the average reader would click through to the CNN story
    and read the relevant portions of it. This conclusion, however, was based on a factual
    assumption that has proven not to be true. According to information produced by CNN, only
    approximately one-third of one-percent of the people who viewed the Buzzfeed article clicked
    through to the CNN article. POSMF, ¶ 61. Specifically, between January 10, 2017 (when
    Buzzfeed first published the article) and February 3, 2017 (when Plaintiffs’ names were
    redacted), the article was viewed more than 5.95 million times. Id. According to CNN, during a
    similar time period, the link from the Buzzfeed article to the CNN article was only clicked on
    20,671 times. Id. This means that less than 0.35% of unique viewers of the Buzzfeed article
    actually clicked through to the CNN article, leaving 99.65% of readers who did not do so.

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           As the Adelson Court held: “[T]here is a drawback to hyperlinks as attributions—an
    average reader must identify a hyperlink, understand its importance, and ultimately open the link.
    When a hyperlink is not found, understood, or opened by a reader, it has failed as a source of
    attribution.” Adelson, 402 P.3d at 669. Here, there can be little question that, even under the
    Adelson test, the hyperlink included in Buzzfeed’s Article “failed as a source of attribution,”
    inasmuch as it was “not found, understood, or opened” by 99.65% of the readers of its article.
           Because the ordinary reader would not be able to determine from the Buzzfeed article
    that the publication was reporting on an official proceeding and because the hyperlink to the
    CNN article was insufficient to cure that defect, Defendants are not entitled to the protections of
    the fair report privilege. Or, at a minimum, the question raises genuine issues of material fact
    that must be resolved by a jury, which precludes a finding of summary judgment.
    II.    Defendants Clearly Published Defamatory Accusations About Plaintiffs.
           In one of their most bizarre arguments, Defendants assert that, despite having published
    the December Memo – which falsely accuses Plaintiffs of (among other things), being agents of
    the Russian FSB and using “botnets and porn traffic to transmit viruses, plant bugs, steal data,
    and conduct ‘altering operations’ against the Democratic Party leadership” – they did not
    actually make any defamatory statements about Plaintiffs and “did not assert or imply that
    Plaintiffs actually engaged in any cyber-crimes.”6
           As the basis for this truly remarkable argument, Defendants insist that they cannot be
    found liable for defamation based on their publication of the December Memo because, when
    they published it, they essentially shrugged and said, “Well, we don’t know if this is true or
    anything. People are saying it is, but, who knows? – certainly not us.”
           As a general rule, of course, “the common law of libel has long held that one who
    republishes a defamatory statement adopts it as his own and is liable [for false, defamatory
    statements] in equal measure to the original defamer.” Sack on Defamation, Fifth Ed., § 2.7.1 (2-
    114) (and numerous citations therein). Defendants cannot escape this liability simply by


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      Although it is absurd for Buzzfeed to claim that it didn’t accuse Plaintiffs of actually engaging
    in any cyber-crimes, it is true that, despite having paid a single one of its expert witnesses a jaw-
    dropping $4.1 million in fees, it was unable to find any evidence that “put the Plaintiffs behind a
    keyboard” committing the alleged cyber-crimes. See Opp. Ex. 83, 42:13-17, 63:4-19. It’s
    similarly true that Special Counsel Mueller indicted the 12 Russian Intelligence Officers who
    actually committed the cyber-crimes Buzzfeed accused Plaintiffs of committing. POSMF, ¶ 11.
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    claiming that their publication of the December Memo was nothing more than Buzzfeed asking
    the world what it thought about the allegations. See, e.g., Cianci v. New Times Pub. Co., 639
    F.2d 54, 60-61 (2d Cir. 1980) (“[O]ne who republishes a libel is subject to liability just as if he
    had published it originally, even though he attributes the libelous statement to the original
    publisher, and even though he expressly disavows the truth of the statement.”); Biro v. Conde
    Nast, 883 F.Supp.2d 441, 461 (S.D.N.Y. 2012) (“The Second Circuit has expressly embraced the
    ‘widely recognized’ rule that ‘one who republishes a libel is subject to liability just as if he had
    published it originally, even though he attributes the libelous statement to the original publisher,
    and even though he expressly disavows the truth of the statement.’”); Levin v. McPhee, 119 F.3d
    189, 195 (2d Cir. 1997) (“That the statements implicating Levin in a murder appear among
    conflicting and speculative versions of an unresolved mystery reflects only that a jury issue
    exists as to how ‘the words were likely to be understood by the ordinary and average reader,’ ...
    and does not preclude a trier of fact from finding a defamatory connotation.”); Afro-American
    Publ'g Co. v. Jaffe, 366 F.2d 649, 655 (D.C. Cir. 1966) (“Where readers would understand a
    defamatory meaning liability cannot be avoided merely because the publication is cast in the
    form of an opinion, belief, insinuation or even question.”). 7
           Accordingly, Defendants’ motion for summary judgment must be denied.
    III.   Although Plaintiffs are Private Figures Who Need Only Prove Defendants Acted
           with Negligence, a Jury Could Find that Defendants Acted with Actual Malice.
           Although a Court cannot impose liability on Defendants with a finding of some degree of
    fault, it is also true that “[s]ociety has a pervasive and strong interest in preventing and
    redressing attacks upon reputation.” Rosenblatt v. Baer, 383 U.S. 75, 56 (1966). Accordingly,


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      See, also, Jones v. Scripps Media, Inc., 2017 U.S. Dist. LEXIS 50883, at *25 n.14 (E.D. Mich.
    Apr. 4, 2017) (“WXYZ argues that a question may never form the basis of a defamation claim
    because a question is not capable of being proven true or false. However, the Michigan Supreme
    Court has suggested that at least some questions may be defamatory.” (citing Smith v.
    Anonymous Joint Enterprise, 487 Mich. 102, 793 N.W.2d 533, 549 (Mich. 2010) (courts must
    analyze allegedly defamatory statements “in their proper context,” to avoid “elevat[ing] form
    over substance,” and not to “rely[] merely on the use of a question mark as punctuation” when
    determining whether a statement “is capable of a defamatory meaning”))); Obsidian Finance
    Group, LLC v. Cox, 812 F.Supp.2d 1220, 1225 (D. Ore. 2011) (if a question “can be reasonably
    read as an assertion of false fact, it may be actionable” in a defamation claim); Point Ruston,
    LLC v. Pacific Northwest Regional Council, 2010 WL 3732984, at *8 (W.D. Wash. Sept. 13,
    2010) (“[U]sing a ‘?’ at the end of a statement does not automatically insulate [the defendant]
    from liability for defamation....”).
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    the United States Supreme Court and the state courts, over many years, have established a set of
    standards for determining when defendants may be held liable for publishing false and
    defamatory statements. The standard applied, however, depends first on a determination of
    whether the plaintiff is deemed a public figure or a private figure. When a plaintiff is a private
    figure, the standard of fault may be met with a showing of ordinary negligence.
           Defendants, of course, launch directly into a discussion of the “actual malice” standard
    reserved for public figure plaintiffs. Plaintiffs dispute that they are public figures and have
    briefed the Court on this issue in a Motion for Summary Judgment filed with the Court and will
    do so again in their opposition to Defendants’ separate summary judgment motion on this issue.
    And, although Plaintiffs strongly believe that the evidence supports only one conclusion – that
    they are private figures – if the Court were to disagree with that position, Defendants’ current
    motion would fail because a reasonable jury could conclude that Defendants published the
    defamatory statements about Plaintiffs with actual malice.
           As the Supreme Court held in Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986):
           [I]n a libel suit brought by a public official, the First Amendment requires the
           plaintiff to show that in publishing the defamatory statement the defendant acted
           with actual malice – ‘with knowledge that it was false or with reckless disregard of
           whether it was false or not.’ We held further that such actual malice must be shown
           with ‘convincing clarity.’ ... These New York Times requirements we have since
           extended to libel suits brought by public figures as well.
    Id. at 244 (citations omitted). Despite this heightened standard, though, the Supreme Court has
    cautioned that, as in any case, “summary judgment will not lie if the dispute about a material fact
    is ‘genuine,’ that is, if the evidence is such that a reasonable jury could return a verdict for the
    nonmoving party.” Id. at 248. The heightened standard also does not change the general
    summary judgment prohibition that “the judge’s function is not ... to weigh the evidence and
    determine the truth of the matter but to determine whether there is a genuine issue for trial.” Id.
    at 249. As the Anderson Court (at 255) further explained:
           Our holding that the clear-and-convincing standard of proof should be taken into
           account in ruling on summary judgment motions does not denigrate the role of the
           jury. It by no means authorizes trial on affidavits. Credibility determinations, the
           weighing of the evidence, and the drawing of legitimate inferences from the facts
           are jury functions, not those of a judge, whether he is ruling on a motion for summary
           judgment or for a directed verdict. The evidence of the nonmovant is to be believed,
           and all justifiable inferences are to be drawn in his favor.... Neither do we suggest
           that the trial courts should act other than with caution in granting summary judgment

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           or that the trial court may not deny summary judgment in a case where there is reason
           to believe that the better course would be to proceed to a full trial.
           The actual malice test is a subjective one, “focusing on whether the defendant actually
    entertained serious doubts as to the veracity of the published account, or was highly aware that
    the account was probably false.” Turner v. Wells, 879 F.3d 1254, 1273 (11th Cir. 2018).
    “Because direct evidence of subjective belief rarely exists, a ‘court will typically infer actual
    malice from objective facts.’” Lemelson v. Bloomberg L.P., No. 17-1620, 2018 U.S. App. LEXIS
    24716, at *8-9 (1st Cir. Aug. 30, 2018) (quoting Bose Corp. v. Consumers Union of U.S., Inc.,
    692 F.2d 189, 196 (1st Cir. 1982), aff'd, 466 U.S. 485 (1984)).
           In the present case, however, while there are indeed objective facts from which the Court
    can and should infer actual malice, there is also that which “rarely exists,” namely direct
    evidence in the form of admissions from Defendants. First, Buzzfeed’s article itself states that:
           ●       “The dossier, which is a collection of memos written over a period of months,
                   includes specific, unverified, and potentially unverifiable allegations…”
           ●       “BuzzFeed News reporters in the US and Europe have been investigating various
                   alleged facts in the dossier but have not verified or falsified them.”
           ●       “The document was prepared for political opponents of Trump…”
           ●       “It is not just unconfirmed: It includes some clear errors...”

    POSMF, ¶ 57(a). Moreover, immediately after Buzzfeed published the collection of Steele
    Memos, Ben Smith wrote to Buzzfeed’s entire staff to explain his decision to publish the
    “explosive and unverified allegations about Donald Trump and Russia.” In that email, Mr.
    Smith admitted again that “there is serious reason to doubt the allegations.” Id. and Opp. Ex. 85.
           Within an hour after that, Jake Tapper who had first broken the story for CNN, emailed
    Ben Smith to complain that Buzzfeed’s publishing the memos was “uncollegial,”
    “unprofessional,” and “irresponsible.” In that email exchange, Mr. Smith admitted that Buzzfeed
    could not even be 100% certain the Christopher Steele was really a former MI6 agent because
    “There is not an official list of former U.K. intelligence agents or a named source confirming he
    is a former U.K. Intel agent!” POSMF, ¶ 6 and Opp. Exs. 61 and 62.
           The next day, Mr. Smith appeared on MSNBC’s Meet the Press Daily, where he was
    interviewed by Chuck Todd. In the course of that interview, Mr. Smith admitted:
           ●       That the Buzzfeed article “stressed that there were – that – that there were solid
                   reasons to ... distrust this [the memos] that noted t[w]o specific [errors].”
           ●       “There are false claims.”
           ●       “[I]t is appropriate ... to tell your audience and to respect the fact that they can say

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                   ... this looks like nonsense.”
           ●       “[S]o you’re allowed to take false claims and summarize them, but not show – I
                   mean, I guess our impulse ... is to show the audience the underlying document....”
           ●       “I think that we are now in a media environment where you have to engage in
                   false statements.”
    POSMF, ¶ 57(a). In the same interview, Mr. Smith also admitted that Buzzfeed had not itself
    confirmed that the President had been briefed on the contents of the memos. POSMF, ¶ 42.
           Four days after that, Mr. Smith appeared on CNN (Opp. Ex. 84) and again admitted that:
           ●        “I’m not sure that reading the thing and our report which said not only is this
                   unverified, we know that there are specific things wrong.”
           ●       “We really stressed that there were false things in this document…”
           ●       “I don’t think that you or I or the FBI apparently can say with great confidence
                   that either they have stood this up or knocked it down.”
           ●       “We did point out the things that we really, were very, very confident were false,
                   in part to say to the reader ‘caveat emptor.’”
           In addition to all of this direct evidence and admissions, discovery has also produced
    significant “objective facts” from which a jury can further infer actual malice, including:
           ●       Although Buzzfeed had a “no surprises” policy that said that, before it published
                   allegations about someone, the person should be informed of the allegations and
                   given an opportunity to respond, Buzzfeed did not contact Plaintiffs, give them
                   notice of their intent to publish the allegations, nor give them the opportunity to
                   respond. POSMF, ¶¶ 57(d)-(e).
           ●       Buzzfeed admitted that it did nothing to attempt to verify the allegations
                   concerning the Plaintiff other than the fact that it sent a reporter to Prague to see if
                   Cohen had travelled there, which it could not confirm. POSMF, ¶¶ 52, 57(c).
           ●       Although Buzzfeed claimed to spend two weeks attempting to verify portions of
                   the Dossier, it was unable to do so and, indeed, those efforts had only served to
                   reveal “clear errors” in the collection of documents. POSMF, ¶¶ 57(a), (f).
           ●       Prior to publishing, Defendants considered the positive effect the publication
                   would have on Buzzfeed’s website traffic. POSMF, ¶ 56.
           ●       Prior to publishing, Defendants considered the benefits to them in being the first
                   to publish and were concerned about being scooped. Id.
           In response, Defendants’ only arguments as to why they believe Plaintiffs cannot meet
    the “actual malice” test boil down to two assertions: (1) “Steele was well-known to Defendants
    [and] other well-regarded persons took Steele’s allegations seriously” and (2) the defamatory
    statements about Plaintiffs were part of a larger document that they attempted to verify (but were
    unable to confirm anything about). Motion, p. 15. This is no more than Defendants claiming
    that they published because they thought the allegations were true, a claim that cannot save them:
           The defendant in a defamation action brought by a public official cannot, however,

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            automatically insure a favorable verdict by testifying that he published with a belief
            that the statements were true. The finder of fact must determine whether the
            publication was indeed made in good faith. Professions of good faith will be
            unlikely to prove persuasive, for example, where a story is ... based wholly on an
            unverified anonymous telephone call.... Likewise, recklessness may be found
            where there are obvious reasons to doubt the veracity of the informant or the
            accuracy of his reports.
    St. Amant v. Thompson, 390 U.S. 727, 732 (1968) (emphasis added).
            Defendants’ publication of the defamatory statements about Plaintiffs are, in essence, the
    equivalent of a publication “based wholly on an unverified anonymous telephone call.” Id.
    Although Defendants understood that the Dossier came from Christopher Steele (which they did
    not even receive from him directly, but through                  ), they did not know at the time,
    and still do not know even today, the actual underlying source for the false allegations about
    Plaintiffs.


                                                                When Defendants obtained the dossier,
    they knew that the Dossier was unverified. Id. After Defendants obtained it, they did not do a
    single thing to attempt to verify the allegations about Plaintiffs before publishing. Id., ¶ 52.
            Among the reasons Defendants claim that they believed the allegations concerning
    Plaintiffs were credible, the only one that actually relates to Plaintiffs in any way is the statement
    that “the allegations against Plaintiffs related to Michael Cohen’s alleged actions in the Dossier.”
    DSMF, ¶ 58(c). However, as will be described, it is exactly the facts about Michael Cohen’s
    alleged connections with Russia that Defendants determined were “clear errors” that they
    redacted from the Dossier when they published it. POSMF, ¶ 58.
            However, this “clear error” and how Defendants dealt with it speaks directly to
    Defendants’ purposeful avoidance of the truth about the allegations regarding Plaintiffs. See
    Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 692 (1989) (“Although failure to
    investigate will not alone support a finding of actual malice ... the purposeful avoidance of the
    truth is in a different category.”). Buzzfeed’s Article states that one of the Dossier’s “clear
    errors” is that “The report says the settlement of Barvikha, outside Moscow, is ‘reserved for the
    residences of the top leadership and their close associates.’ It is not reserved for anyone, and it is
    also populated by the very wealthy.”
            However, if one looks closely at the Dossier as published, one cannot find any allegations

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    about Barvikha. See Opp. Ex. 75. This is because it was part of information that Defendants
    redacted from pages 30 and 31 of the compilation of memos, constituting a memorandum dated
    October 18, 2016. POSMF, ¶ 57(f). The portion of the Dossier that Defendants redacted was:
           [Michael] COHEN had a wife of Russian origin, whose father, Efim
           SHUSTERMAN, was a leading Moscow property developer.... It appears that
           SHUSTERMAN has a country house (dacha) in the settlement of Barvikha, west
           of Moscow. This village is reserved for the residences of the top leadership and
           their close associates.
    Opp. Ex. 78. This is not an insignificant connection, if true, inasmuch as it would suggest a
    connection between President Trump’s personal lawyer/fixer and Russia’s “top leadership and
    their close associates.” But Defendants knew that the allegations were not true and redacted the
    information prior to publication. Ironically, though, Defendants nonetheless point to such false
    allegations concerning Cohen as a reason for them to believe the allegations about Plaintiffs.
           And, although it is possible (even if unlikely) that a jury might give some weight to
    Defendants’ arguments as they weigh them against Plaintiffs’ arguments, this is precisely the
    type of genuine issue of material fact that must be weighed and decided by a jury. In the present
    case, then, there can be little question but that a jury could find that there was clear and
    convincing evidence that Defendants “entertained serious doubts as to the veracity of the
    published account” and, as such, even if the Court were to find the actual malice standard the
    applicable standard, Plaintiffs have met their summary judgment burden and Defendants’ Motion
    for Summary Judgment must be denied.
           Given that the facts in this case satisfy even the highest test of “actual malice” reserved
    for public figures, there should be little question about whether Plaintiffs are entitled to proceed
    to trial given that they are private figures, subject to lower burdens. The standard for liability for
    defamation of private figures is considerably lower than “actual malice,” though the appropriate
    test can differ between jurisdiction. See Gertz v. Robert Welch, Inc., 418 U.S. 323, 347 (1974).
           To determine whether Florida or New York law should apply to this question, the Court
    must apply the “most significant relationship” test outlined in Section 145 of the Restatement
    (Second) of Conflict of Laws using the principles set forth in Section 6. Grupo Televisa, S.A. v.
    Telemundo Comm’n Grp., Inc., 485 F.3d 1233, 1240-1243 (11th Cir. 2007). In this Court’s
    Order dated June 5, 2018 (D.E. 171), this Court already applied the general Section 145 factors
    and found that they weigh slightly in favor of applying New York law, but not strongly enough


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    to be conclusive. Id., pp. 8-9. Accordingly, the Section 6 factors must be considered.
           Plaintiffs acknowledge that the Court selected New York law for determining whether the
    fair reporting privilege applies to Defendants because that affirmative defense seeks to protect
    the speaker and the speaker was in New York. As a matter of consistency and fairness, there is
    an argument that the law governing privileges should be the law where the speaker resides.
           On the flipside, however, when selecting the applicable law to apply with respect to the
    standards of fault that for a private individual bringing a defamation claim, the same concerns of
    consistency and fairness counsel in favor of the law of the jurisdiction of the plaintiff. This is
    true because the rights of the plaintiff should not be determined by a defendant’s choice of
    domicile. If this were not the case, every media defendant would simply choose the most
    defendant-friendly state as its domicile and no other state would be able to enact laws designed
    to protect its residents. As such, to the extent that the Court believes the applicable burdens
    would differ depending on a choice of law, the Court should apply the laws of Florida.
           In Florida “it is sufficient that a private plaintiff prove negligence....” Miami Herald Pub.
    Co. v. Ane, 458 So.2d 239, 242 (1984). Given that Defendants exhibited a reckless disregard for
    the truth or falsity of what they published about Plaintiffs, this standard is easily met in this
    case.8 See, e.g., Lopez v. Ingram Micro, Inc., 1997 WL 401585 at * 4 (S.D. Fla. Mar. 18, 1997)
    (private plaintiff must prove that defendant published “without reasonable care as to whether that
    statement was true”); Bernath v. Seavey, 2017 WL 3268481 at * 6 (M.D. Fla. May 18, 2017)
    (finding negligence where “it is undisputed that Bernath failed to conduct any inquiry or
    investigation into the truth or falsity of the statements he made against Seavey.”).
           However, the same result obtains even if the Court finds that New York’s standard of
    liability should be applied. Because there is sufficient evidence to proceed to trial even if the
    “actual malice” standard was to be used, there is no question that Plaintiffs have sufficient
    evidence that Defendants “acted in a grossly irresponsible manner without due consideration for
    the standards of information gathering and dissemination ordinarily followed by responsible
    parties.” Chapadeau v. Utica Oberserver-Dispatch, 38 N.Y.2d 196, 199 (1975).
           Accordingly, Defendants’ Motion for Summary Judgment must be denied.



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     Negligence in libel in Florida, however, is a “jury question[] which preclude[s] the granting of
    summary judgment.” Saro Corp. v. Waterman Broad., 595 So.2d 87, 89 (Fla. DCA 1992).
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                                             Conclusion
            For the reasons stated hereinabove, Defendants’ Motion for Summary Judgment should
    be denied in its entirety.

    Dated: October 5, 2018

    Respectfully Submitted:

     /s/ Evan Fray-Witzer
     Evan Fray-Witzer (pro hac vice)
     CIAMPA FRAY-WITZER, LLP
     20 Park Plaza, Suite 505
     Boston, Massachusetts 02116
     Telephone: 617-426-0000
     Facsimile: 617-423-4855
     Evan@CFWLegal.com

     /s/ Valentin Gurvits
     Valentin D. Gurvits (pro hac vice)
     Matthew Shayefar (Fla. Bar No. 0126465)
     BOSTON LAW GROUP, PC
     825 Beacon Street, Suite 20
     Newton Centre, Massachusetts 02459
     Telephone: 617-928-1804
     Facsimile: 617-928-1802
     vgurvits@bostonlawgroup.com
     matt@bostonlawgroup.com

     /s/ Brady J. Cobb
     Brady J. Cobb (Fla. Bar No. 031018)
     COBB EDDY, PLLC
     642 Northeast Third Avenue
     Fort Lauderdale, Florida 33304
     Telephone: 954-527-4111
     Facsimile: 954-900-5507
     bcobb@cobbeddy.com

     Attorneys for Plaintiffs




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                                    CERTIFICATE OF SERVICE
           I hereby certify that a true and correct copy of the foregoing was served electronically via
    email on all counsel or parties of record on the service list below on October 5, 2018.


                                                         /s/ Matthew Shayefar
                                                         Matthew Shayefar

                                            SERVICE LIST

    Katherine M. Bolger
    Adam Lazier
    Davis Wright Tremaine, LLC
    1251 Avenue of the Americas, 21st Floor
    New York, New York 10020
    katebolger@dwt.com
    adamlazier@dwt.com

    Nathan Siegel
    Alison Schary
    Davis Wright Tremaine LLP
    1919 Pennsylvania Avenue, Suite 800
    Washington, DC 20006
    nathansiegel@dwt.com
    alisonschary@dwt.com

    Roy Eric Black
    Jared M. Lopez
    Black Srebnick Kornspan & Stumpf
    201 S Biscayne Boulevard, Suite 1300
    Miami, Florida 33131
    rblack@royblack.com
    jlopez@royblack.com




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